          Case 1:18-cr-00557-VSB Document 31
                                          30 Filed 11/05/20
                                                   11/02/20 Page 1 of 1




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                                            _________
                                                                                   November 2, 2020
Via ECF
Honorable Vernon S. Broderick
United States District Judge
Southern District of New York
United States Courthouse                                           11/5/2020
500 Pearl Street
New York, New York 10007


               Re:      Reappointment Pursuant to the CJA for
                        Compassionate Release Motion for Aldo Mejia
                        United States v. Mejia, 18 Cr. 557 (VSB)


Dear Judge Broderick:

        I represented Aldo Mejia in the above criminal matter before Your Honor several years
ago. Mr. Mejia is still serving a sentence on these charges, and contacted my office seeking my
help to assist him in filing a motion for compassionate release pursuant to 18 U.S.C. §
3582(c)(1)(A)(i). I would respectfully request that Your Honor re-appoint me in this matter, and
if possible, to the nunc pro tunc date of October 1, 2020, which was the date I submitted a letter
to the Warden of FCI Sheridan, where Mr. Mejia was designated, seeking his release.

                                                                      Respectfully submitted,
                                                                      s/ Lorraine Gauli-Rufo, Esq.
                                                                      CJA Attorney
cc: All Counsel of Record
